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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

 UNITED STATES OF AMERICA,                                                     CONSENT TO PROCEED TELEPHONE
                                                                               OR VIDEO CONFERENCE
                             -against-
                                                                               20 Mag.
LEIGH MURRAY,
                             Defendant.
-----------------------------------------------------------------X

Defendant LEIGH MURRAY. hereby voluntarily consents to participate in the following
proceeding via ☒ videoconferencing or ☒ teleconferencing:

☐        Initial Appearance Before a Judicial Officer

☐        Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

☒        Entry of a Deferred Prosecution Agreement

☐        Bail/Detention Hearing

☐        Pretrial conference



Leigh Murray by                                             _________________________________
Defendant’s Signature                                           Defendant’s Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

Leigh Murray.                                                         Susanne Brody
Print Defendant’s Name                                               Print Counsel’s Name


This proceeding was conducted by reliable video or telephone conferencing technology.

January 12, 2021                                                     _________________________________
Date                                                                 U.S. Magistrate Judge
                                                                     Southern District of New York
